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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            SOUTHERN DIVISION


UNITED STATES                            CRIMINAL NO. 1:01-cr-23-DCB-JMR


VS.

RICKEY CAMERON                                         DEFENDANT


                                    ORDER


BEFORE THE COURT is a letter addressed to the Court by Rickey

Cameron, defendant in the referenced case seeking termination of

supervision. In the original a supervised release period of 36

months was ordered and as stated in the letter, termination will

occur in June, 2009.

        The Court will consider the letter as an unfiled petition.

At the request of the Court, Probation Officer Kurt Raymond

contacted an official at Stennis Space Center who was unable to

provide any assurance that the said Rickey Cameron would be

employed in the event he is released from supervision at the time

his application is submitted. Although it is the policy of the

Court to carefully review all statutory factors and guideline

factors regarding the release from supervision it is the policy

of the Court to deny motions for early termination unless there

are unusual and extraordinary circumstances involved. Here, the

Court finds no such circumstances and, therefore, the request set
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forth in the letter, hereby considered to be a motion is DENIED.

     SO ORDERED this the        18th   day of      November , 2008.




                                       s/ David Bramlette
                                  UNITED STATES DISTRICT JUDGE
